904 F.2d 700Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Alvin GROSS, Plaintiff-Appellant,v.D.A. SWETTER, Medical Director, CMS, INC.;  Eleanor Bowles,R.N., Defendants-Appellees.
    No. 90-6790.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 7, 1990.Decided:  May 25, 1990.Rehearing and Rehearing In Banc Denied July 9, 1990.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Norman P. Ramsey, District Judge.  (C/A No. 89-1583-R).
      Alvin Gross, appellant pro se.
      Gertrude Catherine Bartel, Aron Uri Raskas, KRAMON &amp; GRAHAM, P.A., Baltimore, Md., for appellees.
      D.Md.
      AFFIRMED.
      Before ERVIN, Chief Judge, and CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Alvin Gross appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Gross v. Swetter, CA-89-1583-R (D.Md. Feb. 15, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    